Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 1 of 121 Page ID
                                  #:1726




                    EXHIBIT 1
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 2 of 121 Page ID
                                  #:1727



                                       SMART KING LTD.
                                       (THE "COMPANY")


                        MINUTES OF THE SPECIAL MEETING OF
                           THE BOARD OF DIRECTORS OF
                                  THE COMPANY

                                       OCTOBER 24, 2018
        A special meeting of the Board of Directors of Smart King Ltd., an exempted company
with limited liability incorporated under the laws of the Cayman Islands, was held on October 24,
2018, at 6:02 p.m., Pacific Time, at the headquarters of the Company, located at 18455 S Figueroa
Street, Gardena, CA 90248 and by teleconference. Ms. Chaoying Deng, Mr. Hong ("Henry") Liu,
Mr. Jiawei ("Jerry") Wang, Mr. Nicholas (''Nick") Sampson and Mr. Ruokun Jia attended the
meeting in person and Mr. Jianjun Peng and Mr. Jimmy Fong, as an alternate director for Haijun
Xia, attended the meeting by teleconference. A quorum was present for conducting business at
the meeting to discuss the matters set forth in the board meeting notice circulated by Jarret Johnson
and other matters as approved by the Board.

        At the invitation of the directors, Vijay Sekhon from Sidley Austin LLP, outside counsel
to the Company, and Brian Wong from Baker & McKenzie LLP, outside counsel to Season Smart
Limited, also were in attendance.

        The participants indicated that they could hear and understand all of the other participants
on the call and that sufficient translation services were available. The participants also indicated
that they understood that the meeting may not be recorded in accordance with California law. Each
of the participants confirmed his or her waiver of any and all notice requirements for, and/or any
proposals raised at, the meeting and that all lawful business of the Company may be conducted at
the present meeting and that such business transacted at the meeting shall be as valid and legal and
of the same force and effect as if such meeting were held after any required notice.

       Mr. Johnson acted as secretary of the meeting. Unless otherwise expressly stated in these
minutes, any actions of the Board recorded herein were taken by motion duly made, seconded and
unanimously carried.

        Mr. Johnson stated that the purpose of the meeting was to discuss the proposed employee
option grants as set forth in the notice of the meeting and the materials previously circulated to and
reviewed by the Board. Mr. Liu provided background for the proposed employee stock option
grants, after which Mr. Liu raised the proposal to authorize and approve the employee option grants
set forth on Exhibits A through C and all related actions to a vote by the Board, which was
seconded by Mr. Sampson. Ms. Deng, Mr. Liu, Mr. Wang, Mr. Sampson and Mr. Ruokun Jia
voted in favor of the proposal. Mr. Fong stated that he and Mr. Peng support granting stock options
to employees to maintain proper incentivization. However, as there is an ongoing shareholder
dispute and the Company is in a difficult situation, he and Mr. Peng do not consider it an
appropriate time for any stock options to be granted. Mr. Fong suggested that the granting of stock
options should be postponed until the resolution of these issues. Therefore, Mr. Peng and Mr.


                                                  1
ACTIVE 237043348
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 3 of 121 Page ID
                                  #:1728



 Fong voted against the proposal. By a majority vote of five (5) in favor and two (2) against, the
 motion passed, and a majority of the Board consented to, approved, authorized and adopted the
 resolutions and recitals set forth in Exhibit A hereto.




ADJOURNMENT


considered at the meeting, and the meeting was adjourned at 6:44  p.J
       Mr. Johnson then confirmed with the directors that there was no further business to be
                                                                    Pacific




                                                2
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 4 of 121 Page ID
                                  #:1729


                                            Exhibit A
                                          RESOLUTIONS

                               APPROVAL OF OPTION GRANTS

         WHEREAS, the Company currently maintains the Smart King Ltd. Equity Incentive Plan
 (the "Plan"), which provides for the grant of share options, restricted shares, unrestricted shares
 and restricted share units to employees and directors of the Company and any Related Entity (as
 defined in the Plan), to be granted from time to time as determined by the Board.

        RESOLVED, that the Board hereby approves the grant of options to purchase the number
 of Class A Ordinary Shares (the "Options"), and which will vest according to the vesting
 schedule, set forth next to each option holder's ("Optionee's") name on Exhibit B; that each such
 Option will be an ISO (to the maximum extent permitted by law) or NSO, as designated on
 Exhibit A; and that the maximum term of each of the Options will be ten (10) years, subject to
 the Optionee's earlier tennination of service.

         RESOLVED, that unless otherwise set forth on Exhibit B, the exercise price for the
 Options shall be $0.36 per share, which price is hereby determined to be the fair market value of
 the Company's Class A Ordinary Shares as of the date hereof after review and consideration of
 relevant factors, including, but not limited to, the valuation report rendered by Cabrillo Advisors,
 Inc. as of December 1, 2017, the liquidation preferences and other rights, preferences and
 privileges of the Company's Preferred Shares, the Company's recent financial performance and
 potential future cash flows, the lack ofliquidity for the Company's Class A Ordinary Shares, the
 value of the Company's assets, the market value of similar entities engaged in substantially
 similar businesses and current economic conditions.

         RESOLVED, that except as noted, each Option shall be granted under and subject to
 the terms of the Plan and the standard form of U.S. Share Option Agreement, or the PRC Option
 Agreement (as applicable, each an "Option Agreement") in each case, as designated on Exhibit
 B with respect to each such option grant.

        RESOLVED, that the shares of Class A Ordinary Shares subject to each Option hereby
granted shall, when issued in accordance with the provisions of the Plan and the applicable form
of Option Agreement, constitute validly issued, fully-paid and non-assessable Class A Ordinary
Shares.

       RESOLVED, that the officers or designated representative(s) of the Company are hereby
authorized and directed to enter into an Option Agreement with each Optionee on the terms
approved for such Option.

       RESOLVED, that the officers or designated representative(s) of the Company are hereby
authorized and directed to designate, in their reasonable discretion, any Optionees which may be
granted early exercise rights with respect to all or any portion of their Options.


                                    Smart King Ltd Board Resolutions
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 5 of 121 Page ID
                                  #:1730




         RESOLVED, that the officers or designated representative(s) of the Company are
 authorized and empowered to take any and all such fmiher action, to execute and deliver any and
 all such further agreements, instruments, documents, certificates and communications and to
 pay such expenses, in the name and on behalf of the Company or such officer or designated
 representative(s), as any such officer or designated representative(s) may deem necessary or
 advisable to effectuate the purposes and intent of the resolutions hereby adopted, the taking of
 such actions, the execution and delivery of such agreements, instruments, documents,
 certificates or communications and the payment of such expenses by any such officer or
 designated representative(s) to be conclusive evidence of his or her authorization hereunder and the
 approval thereof.

         FURTHER RESOLVED, that the designated representative(s) and officers of the
 Company are, and each of them hereby is, authorized and directed, to execute and deliver, in the
 name of and on behalf of the Company, such other documents, instruments and certificates, and to
 take such other actions as such designated representative(s) or officers, in the discretion of such
 designated representative(s) or officer, may deem necessary or appropriate to carry out the full
 intent and purposes of the foregoing resolutions.




                                    Smart King Ltd Board Resolutions
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 6 of 121 Page ID
                                  #:1731
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 7 of 121 Page ID
                                  #:1732
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 8 of 121 Page ID
                                  #:1733
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 9 of 121 Page ID
                                  #:1734
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 10 of 121 Page ID
                                   #:1735
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 11 of 121 Page ID
                                   #:1736
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 12 of 121 Page ID
                                   #:1737
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 13 of 121 Page ID
                                   #:1738
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 14 of 121 Page ID
                                   #:1739
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 15 of 121 Page ID
                                   #:1740
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 16 of 121 Page ID
                                   #:1741
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 17 of 121 Page ID
                                   #:1742
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 18 of 121 Page ID
                                   #:1743
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 19 of 121 Page ID
                                   #:1744
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 20 of 121 Page ID
                                   #:1745
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 21 of 121 Page ID
                                   #:1746
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 22 of 121 Page ID
                                   #:1747
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 23 of 121 Page ID
                                   #:1748
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 24 of 121 Page ID
                                   #:1749
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 25 of 121 Page ID
                                   #:1750
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 26 of 121 Page ID
                                   #:1751
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 27 of 121 Page ID
                                   #:1752
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 28 of 121 Page ID
                                   #:1753
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 29 of 121 Page ID
                                   #:1754




 Vesting Schedule:

 A -25% of the shares subject to the Option shall vest one year from the Vesting Commencement Date, and
 thereafter, 1148th of the shares subject to the Option shall vest each one-month period thereafter, subj ect to the
 Optionee's continued status as a Service Provider.

 B - Vesting Schedu le B attached hereto as Exhibit C




                                          Smart King Ltd Board Resolutions
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 30 of 121 Page ID
                                   #:1755



                                                  Exhibit C


                                           Vesting Schedule B


                                                                                        Vest Schedule
 Total Stock Options Offered        Granting Schedule          Vest Term

 0-100,000                          One-time granting          4-year              ~

                                                               4-year on each,     Broken   Into 4 Tranches
                                                               with staggered          1)   A
                                                               commencement            2)   B
 100,001 - 500,000                  60%-20%-10%-10%
                                                               1 , 2 and 3 years       3)   B
                                                               out on tranches        4)    B
                                                               2, 3, 4
                                                               4-year on each,     Broken   Into 4 Tranches
                                                               with staggered          1)   A
                                                               commencement           2)    B
 500,001 - 1,000,000                50%-20%-20%-10%
                                                               1, 2 and 3 years        3)   B
                                                               out on tranches        4)    B
                                                               2, 3, 4
                                                               4-year on each,     Broken   Into 4 Tranches
                                                               with staggered          1)   A
                                                               commencement           2)    B
 1,000,001 - above                  40%-20%-20%-20%
                                                               1, 2 and 3 years       3)    B
                                                               out on tranches        4)    B
                                                               2,3,4

 Vesting Schedule:
 A -25% of the shares in such tranche shall vest one year from the Vesting Commencement Date, and thereafter,
 1148th of the shares in such tranche shall vest each one-month period thereafter, subject to the Optionee's
 continued status as a Service Provider.

 B - 1148th of the shares in such tranche shall vest each one-month period from the commencement date for such
 tranche, subject to the Optionee's continued status as a Service Provider




                                       Smart King Ltd Board Resolutions
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 31 of 121 Page ID
                                   #:1756




                    EXHIBIT 2
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 32 of 121 Page ID
                                   #:1757
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 33 of 121 Page ID
                                   #:1758
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 34 of 121 Page ID
                                   #:1759
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 35 of 121 Page ID
                                   #:1760
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 36 of 121 Page ID
                                   #:1761
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 37 of 121 Page ID
                                   #:1762
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 38 of 121 Page ID
                                   #:1763
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 39 of 121 Page ID
                                   #:1764
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 40 of 121 Page ID
                                   #:1765
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 41 of 121 Page ID
                                   #:1766
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 42 of 121 Page ID
                                   #:1767
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 43 of 121 Page ID
                                   #:1768
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 44 of 121 Page ID
                                   #:1769
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 45 of 121 Page ID
                                   #:1770
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 46 of 121 Page ID
                                   #:1771
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 47 of 121 Page ID
                                   #:1772
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 48 of 121 Page ID
                                   #:1773
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 49 of 121 Page ID
                                   #:1774
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 50 of 121 Page ID
                                   #:1775
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 51 of 121 Page ID
                                   #:1776
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 52 of 121 Page ID
                                   #:1777
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 53 of 121 Page ID
                                   #:1778
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 54 of 121 Page ID
                                   #:1779
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 55 of 121 Page ID
                                   #:1780
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 56 of 121 Page ID
                                   #:1781
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 57 of 121 Page ID
                                   #:1782
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 58 of 121 Page ID
                                   #:1783
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 59 of 121 Page ID
                                   #:1784
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 60 of 121 Page ID
                                   #:1785
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 61 of 121 Page ID
                                   #:1786
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 62 of 121 Page ID
                                   #:1787
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 63 of 121 Page ID
                                   #:1788
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 64 of 121 Page ID
                                   #:1789
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 65 of 121 Page ID
                                   #:1790
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 66 of 121 Page ID
                                   #:1791
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 67 of 121 Page ID
                                   #:1792
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 68 of 121 Page ID
                                   #:1793
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 69 of 121 Page ID
                                   #:1794
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 70 of 121 Page ID
                                   #:1795
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 71 of 121 Page ID
                                   #:1796
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 72 of 121 Page ID
                                   #:1797
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 73 of 121 Page ID
                                   #:1798
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 74 of 121 Page ID
                                   #:1799
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 75 of 121 Page ID
                                   #:1800
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 76 of 121 Page ID
                                   #:1801




                    EXHIBIT 3
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 77 of 121 Page ID
                                   #:1802
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 78 of 121 Page ID
                                   #:1803
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 79 of 121 Page ID
                                   #:1804
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 80 of 121 Page ID
                                   #:1805
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 81 of 121 Page ID
                                   #:1806
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 82 of 121 Page ID
                                   #:1807
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 83 of 121 Page ID
                                   #:1808
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 84 of 121 Page ID
                                   #:1809
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 85 of 121 Page ID
                                   #:1810
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 86 of 121 Page ID
                                   #:1811
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 87 of 121 Page ID
                                   #:1812
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 88 of 121 Page ID
                                   #:1813
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 89 of 121 Page ID
                                   #:1814
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 90 of 121 Page ID
                                   #:1815
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 91 of 121 Page ID
                                   #:1816
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 92 of 121 Page ID
                                   #:1817
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 93 of 121 Page ID
                                   #:1818
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 94 of 121 Page ID
                                   #:1819
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 95 of 121 Page ID
                                   #:1820
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 96 of 121 Page ID
                                   #:1821
Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 97 of 121 Page ID
                                   #:1822




                    EXHIBIT 4
       Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 98 of 121 Page ID
                                          #:1823

Crisp, Kevin

From:                                           Amiad Kushner <akushner@seidenlawgroup.com>
Sent:                                           Friday, January 29, 2021 5:36 AM
To:                                             Robert Marticello
Cc:                                             Lei Lei Wang Ekvall; Michael Simon; Benjamin Taylor; Jake Nachmani; Nathaniel Francis;
                                                Robert Seiden; Steven Seiden; Jacob Jou
Subject:                                        RE: Liu v. Jia - INADMISSIBLE AND CONFIDENTIAL SETTLEMENT COMMUNICATION


Bobby,

Thanks, we saw the announcement. We are reviewing. -Amiad

From: Robert Marticello <rmarticello@swelawfirm.com>
Sent: Thursday, January 28, 2021 5:36 PM
To: Amiad Kushner <akushner@seidenlawgroup.com>
Cc: Lei Lei Wang Ekvall <lekvall@swelawfirm.com>; Michael Simon <msimon@swelawfirm.com>; Benjamin Taylor
<btaylor@taylorlawfirmpc.com>; Jake Nachmani <jnachmani@seidenlawgroup.com>; Nathaniel Francis
<nfrancis@seidenlawgroup.com>; Robert Seiden <rseiden@seidenlegal.com>; Steven Seiden
<sseiden@seidenlegal.com>
Subject: RE: Liu v. Jia - INADMISSIBLE AND CONFIDENTIAL SETTLEMENT COMMUNICATION

In case you did not already see the public announcement: https://www.reuters.com/article/us-faraday-future-m-a-
property-solutions/electric-vehicle-firm-faraday-future-to-go-public-via-34-billion-spac-deal-idUSKBN29X15T




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(including any attachments) cannot be used or relied upon for the purpose of avoiding penalties under the Internal Revenue Code, or for the purpose of promoting,
marketing or recommending to anyone any transaction or matter addressed herein.


From: Amiad Kushner [mailto:akushner@seidenlegal.com]
Sent: Wednesday, January 20, 2021 6:58 AM
To: Robert Marticello <rmarticello@swelawfirm.com>
Cc: Lei Lei Wang Ekvall <lekvall@swelawfirm.com>; Michael Simon <msimon@swelawfirm.com>; Benjamin Taylor
<btaylor@taylorlawfirmpc.com>; Jake Nachmani <jnachmani@seidenlegal.com>; Nathaniel Francis
                                                                                   1
    Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 99 of 121 Page ID
                                       #:1824
<nfrancis@seidenlawgroup.com>; Robert Seiden <rseiden@seidenlegal.com>; Steven Seiden
<sseiden@seidenlegal.com>
Subject: RE: Liu v. Jia - INADMISSIBLE AND CONFIDENTIAL SETTLEMENT COMMUNICATION

Bobby: any update? Thanks,

Amiad Kushner
Partner, Head of Litigation
Seiden Law Group LLP
469 Seventh Avenue, 5th Fl.
New York, NY 10018
Office: (646) 766-1914
Mobile: (646) 275-2485
www.seidenlegal.com


From: Amiad Kushner
Sent: Sunday, January 10, 2021 4:53 PM
To: Robert Marticello <rmarticello@swelawfirm.com>
Cc: Lei Lei Wang Ekvall <lekvall@swelawfirm.com>; Michael Simon <msimon@swelawfirm.com>; Benjamin Taylor
<btaylor@taylorlawfirmpc.com>; Jake Nachmani <jnachmani@seidenlegal.com>; Nathaniel Francis
<nfrancis@seidenlegal.com>; Robert Seiden <rseiden@seidenlegal.com>; Steven Seiden <sseiden@seidenlegal.com>
Subject: RE: Liu v. Jia - INADMISSIBLE AND CONFIDENTIAL SETTLEMENT COMMUNICATION

Bobby,

It’s now been several months since Faraday agreed to set up a call between its investment bankers and
our financial advisors to discuss Faraday’s contemplated IPO, but still no call has been
scheduled. In the meantime, the media are reporting that Faraday is in talks to go public in a SPAC
transaction (see, e.g., below). It’s important that we understand the status, particularly given
that Faraday is required to provide Mr. Liu with a 2% equity interest in the company under the terms
of his employment agreement. Please advise.

https://www.bloomberg.com/news/articles/2021-01-10/faraday-future-is-said-in-talks-to-go-public-via-spac-
merger


Amiad Kushner
Partner, Head of Litigation
Seiden Law Group LLP
469 Seventh Avenue, 5th Fl.
New York, NY 10018
Office: (646) 766-1914
Mobile: (646) 275-2485
www.seidenlegal.com


From: Robert Marticello <rmarticello@swelawfirm.com>
Sent: Monday, January 4, 2021 9:42 PM
To: Amiad Kushner <akushner@seidenlegal.com>
Cc: Lei Lei Wang Ekvall <lekvall@swelawfirm.com>; Michael Simon <msimon@swelawfirm.com>; Benjamin Taylor
<btaylor@taylorlawfirmpc.com>; Jake Nachmani <jnachmani@seidenlegal.com>; Nathaniel Francis
<nfrancis@seidenlegal.com>
Subject: RE: Liu v. Jia - INADMISSIBLE AND CONFIDENTIAL SETTLEMENT COMMUNICATION

Hey Amiad,
                                                       2
     Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 100 of 121 Page ID
                                         #:1825

I hope you enjoyed the holidays. I will follow up with Faraday and circle back with you.




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marketing or recommending to anyone any transaction or matter addressed herein.


From: Amiad Kushner [mailto:akushner@seidenlegal.com]
Sent: Wednesday, December 16, 2020 3:18 PM
To: Robert Marticello <rmarticello@swelawfirm.com>
Cc: Lei Lei Wang Ekvall <lekvall@swelawfirm.com>; Michael Simon <msimon@swelawfirm.com>; Benjamin Taylor
<btaylor@taylorlawfirmpc.com>; Jake Nachmani <jnachmani@seidenlegal.com>; Nathaniel Francis
<nfrancis@seidenlegal.com>
Subject: RE: Liu v. Jia - INADMISSIBLE AND CONFIDENTIAL SETTLEMENT COMMUNICATION

Bobby,

I’m following up on the below. When can we expect this call to be set up? Thanks, Amiad

Amiad Kushner
Partner, Head of Litigation
Seiden Law Group LLP
469 Seventh Avenue, 5th Fl.
New York, NY 10018
Office: (646) 766-1914
Mobile: (646) 275-2485
www.seidenlegal.com


From: Amiad Kushner
Sent: Friday, November 20, 2020 2:59 PM
To: Robert Marticello <rmarticello@swelawfirm.com>
Cc: Lei Lei Wang Ekvall <lekvall@swelawfirm.com>; Michael Simon <msimon@swelawfirm.com>; Benjamin Taylor
<btaylor@taylorlawfirmpc.com>; Jake Nachmani <jnachmani@seidenlegal.com>; Nathaniel Francis
<nfrancis@seidenlegal.com>
Subject: RE: Liu v. Jia - INADMISSIBLE AND CONFIDENTIAL SETTLEMENT COMMUNICATION

Bobby,
                                                                                   3
    Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 101 of 121 Page ID
                                        #:1826

Thanks for facilitating this call. Please see the below responses to your questions. Please send us some
proposed times for this call. Regards, Amiad

(1) On our side, the participant on the call will be Dan Hirsch, a SPAC
    specialist. https://finledger.com/2020/10/07/financial-services-execs-launch-cascade-a-fintech-focused-
    spac/

(2) Below is an outline of the anticipated questions and scope:

    a) Details about the SPAC, including:

           i.   Who are the parties involved
          ii.   What stage are the negotiations
         iii.   What is the contemplated structure (confirm it would be a stock deal, not an asset deal)
         iv.    What is the current timeline (given that this is taking longer than they claim to have anticipated)

    b) Details about how stock would be affected by the SPAC, including:

          i.    Valuation
         ii.    Effect of subordination in light of existing capital structure (including most recent debt round)

    c)      Details about the company’s assets, including:

          i.    Which assets are secured by the lenders
         ii.    What is the story with the recent PR blitz to hype the value of the IP portfolio



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New York, NY 10018
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Mobile: (646) 275-2485
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From: Robert Marticello <rmarticello@swelawfirm.com>
Sent: Wednesday, November 11, 2020 7:19 PM
To: Amiad Kushner <akushner@seidenlegal.com>
Cc: Lei Lei Wang Ekvall <lekvall@swelawfirm.com>; Michael Simon <msimon@swelawfirm.com>; Benjamin Taylor
<btaylor@taylorlawfirmpc.com>; Jake Nachmani <jnachmani@seidenlegal.com>
Subject: RE: Liu v. Jia - INADMISSIBLE AND CONFIDENTIAL SETTLEMENT COMMUNICATION

Amiad,

Faraday is open to setting up a call between your client’s advisors and one of its bankers. Can you (1) tell us who would
participate in the call on your client’s behalf, and (2) provide an outline of the scope of the questions to be asked or
provide a list of the questions? This will help us identify the right person who can respond to the questions.

                                                             4
     Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 102 of 121 Page ID
                                         #:1827




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marketing or recommending to anyone any transaction or matter addressed herein.


From: Amiad Kushner [mailto:akushner@seidenlegal.com]
Sent: Thursday, November 5, 2020 7:38 AM
To: Robert Marticello <rmarticello@swelawfirm.com>
Cc: Lei Lei Wang Ekvall <lekvall@swelawfirm.com>; Michael Simon <msimon@swelawfirm.com>; Benjamin Taylor
<btaylor@taylorlawfirmpc.com>; Jake Nachmani <jnachmani@seidenlegal.com>
Subject: RE: Liu v. Jia - INADMISSIBLE AND CONFIDENTIAL SETTLEMENT COMMUNICATION

Bobby,

Do you have any update re: arranging for our advisers to speak confidentially with professionals working for Faraday on
the contemplated SPAC?

Thanks.

Amiad Kushner
Partner, Head of Litigation
Seiden Law Group LLP
469 Seventh Avenue, 5th Fl.
New York, NY 10018
Office: (646) 766-1914
Mobile: (646) 275-2485
www.seidenlegal.com


From: Amiad Kushner
Sent: Tuesday, October 13, 2020 3:02 PM
To: Robert Marticello <rmarticello@swelawfirm.com>
Cc: Lei Lei Wang Ekvall <lekvall@swelawfirm.com>; Michael Simon <msimon@swelawfirm.com>; Benjamin Taylor
<btaylor@taylorlawfirmpc.com>; Jake Nachmani <jnachmani@seidenlegal.com>
Subject: RE: Liu v. Jia - INADMISSIBLE AND CONFIDENTIAL SETTLEMENT COMMUNICATION

OK – what is the best number to reach you on?

Amiad Kushner
Partner, Head of Litigation
                                                                                   5
     Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 103 of 121 Page ID
                                         #:1828
Seiden Law Group LLP
469 Seventh Avenue, 5th Fl.
New York, NY 10018
Office: (646) 766-1914
Mobile: (646) 275-2485
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From: Robert Marticello <rmarticello@swelawfirm.com>
Sent: Tuesday, October 13, 2020 2:45 PM
To: Amiad Kushner <akushner@seidenlegal.com>
Cc: Lei Lei Wang Ekvall <lekvall@swelawfirm.com>; Michael Simon <msimon@swelawfirm.com>; Benjamin Taylor
<btaylor@taylorlawfirmpc.com>; Jake Nachmani <jnachmani@seidenlegal.com>
Subject: RE: Liu v. Jia - INADMISSIBLE AND CONFIDENTIAL SETTLEMENT COMMUNICATION

I have a call at 2:00, so let’s do 1:00 p.m. (PST).




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marketing or recommending to anyone any transaction or matter addressed herein.


From: Amiad Kushner [mailto:akushner@seidenlegal.com]
Sent: Tuesday, October 13, 2020 6:21 AM
To: Robert Marticello <rmarticello@swelawfirm.com>
Cc: Lei Lei Wang Ekvall <lekvall@swelawfirm.com>; Michael Simon <msimon@swelawfirm.com>; Benjamin Taylor
<btaylor@taylorlawfirmpc.com>; Jake Nachmani <jnachmani@seidenlegal.com>
Subject: RE: Liu v. Jia - INADMISSIBLE AND CONFIDENTIAL SETTLEMENT COMMUNICATION

Bobby,

Can I call you at 4 or 5 pm EST today (1 or 2 pm PST)? I might ask Jake and/or Ben to join.

Amiad Kushner
Partner, Head of Litigation
Seiden Law Group LLP
469 Seventh Avenue, 5th Fl.
New York, NY 10018
Office: (646) 766-1914
Mobile: (646) 275-2485
                                                                                   6
     Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 104 of 121 Page ID
                                         #:1829
www.seidenlegal.com


From: Robert Marticello <rmarticello@swelawfirm.com>
Sent: Monday, October 12, 2020 11:24 PM
To: Amiad Kushner <akushner@seidenlegal.com>
Cc: Lei Lei Wang Ekvall <lekvall@swelawfirm.com>; Michael Simon <msimon@swelawfirm.com>; Benjamin Taylor
<btaylor@taylorlawfirmpc.com>; Jake Nachmani <jnachmani@seidenlegal.com>
Subject: RE: Liu v. Jia - INADMISSIBLE AND CONFIDENTIAL SETTLEMENT COMMUNICATION

Hey Amiad,

Give me call when you have a chance on this. Also, we have a status report due Thursday.




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(including any attachments) cannot be used or relied upon for the purpose of avoiding penalties under the Internal Revenue Code, or for the purpose of promoting,
marketing or recommending to anyone any transaction or matter addressed herein.


From: Amiad Kushner [mailto:akushner@seidenlegal.com]
Sent: Wednesday, September 30, 2020 2:34 PM
To: Robert Marticello <rmarticello@swelawfirm.com>
Cc: Lei Lei Wang Ekvall <lekvall@swelawfirm.com>; Michael Simon <msimon@swelawfirm.com>; Benjamin Taylor
<btaylor@taylorlawfirmpc.com>; Jake Nachmani <jnachmani@seidenlegal.com>
Subject: Re: Liu v. Jia - INADMISSIBLE AND CONFIDENTIAL SETTLEMENT COMMUNICATION

Bobby,
Thanks, that is very useful. Would it be possible for our advisers to speak on a
confidential basis with professionals (such as investment bankers) who may
be working for Faraday on the contemplated SPAC? This would facilitate our
ability to respond meaningfully on settlement.
Amiad Kushner
Partner, Head of Litigation
Seiden Law Group LLP
                                                                                   7
    Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 105 of 121 Page ID
                                        #:1830
469 Seventh Avenue, 5th Fl.
New York, NY 10018
Office: (646) 766-1914
Mobile: (646) 275-2485
www.seidenlegal.com


From: Robert Marticello <rmarticello@swelawfirm.com>
Sent: Tuesday, September 29, 2020, 9:49 PM
To: Amiad Kushner
Cc: Lei Lei Wang Ekvall; Michael Simon; Benjamin Taylor; Jake Nachmani
Subject: RE: Liu v. Jia - INADMISSIBLE AND CONFIDENTIAL SETTLEMENT COMMUNICATION


Amiad,

This email and the information contained herein is “Confidential Material” under the Stipulated Protective Order. My
understanding is that Faraday continues to move forward with the contemplated SPAC transaction, with an anticipated
closing date of early 2021.




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(including any attachments) cannot be used or relied upon for the purpose of avoiding penalties under the Internal Revenue Code, or for the purpose of promoting,
marketing or recommending to anyone any transaction or matter addressed herein.


From: Amiad Kushner [mailto:akushner@seidenlegal.com]
Sent: Monday, September 21, 2020 6:43 PM
To: Robert Marticello <rmarticello@swelawfirm.com>
Cc: Lei Lei Wang Ekvall <lekvall@swelawfirm.com>; Michael Simon <msimon@swelawfirm.com>; Benjamin Taylor
<btaylor@taylorlawfirmpc.com>; Jake Nachmani <jnachmani@seidenlegal.com>
Subject: Re: Liu v. Jia - INADMISSIBLE AND CONFIDENTIAL SETTLEMENT COMMUNICATION

Bobby,

Thanks for sending these materials. We confirm that the stipulated protective order is binding.

Regarding the SPAC plan that is referred to in these materials, are you able to send any further updates?
                                                                                   8
     Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 106 of 121 Page ID
                                         #:1831

Thanks,

Amiad

Amiad Kushner
Partner, Head of Litigation
Seiden Law Group LLP
469 Seventh Avenue, 5th Fl.
New York, NY 10018
Office: (646) 766-1914
Mobile: (646) 275-2485
www.seidenlegal.com


From: Robert Marticello <rmarticello@swelawfirm.com>
Sent: Tuesday, September 15, 2020, 11:03 PM
To: Amiad Kushner
Cc: Lei Lei Wang Ekvall; Michael Simon; Benjamin Taylor; Jake Nachmani
Subject: RE: Liu v. Jia - INADMISSIBLE AND CONFIDENTIAL SETTLEMENT COMMUNICATION


Amiad,

With the understanding that the stipulated protective order will be treated as, and is, binding, please see the attached
documents. Both have been marked as “confidential” and are “Confidential Material” pursuant to the attached
stipulation.




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(including any attachments) cannot be used or relied upon for the purpose of avoiding penalties under the Internal Revenue Code, or for the purpose of promoting,
marketing or recommending to anyone any transaction or matter addressed herein.


From: Amiad Kushner [mailto:akushner@seidenlegal.com]
Sent: Monday, September 14, 2020 11:20 AM
To: Michael Simon <msimon@swelawfirm.com>; Benjamin Taylor <btaylor@taylorlawfirmpc.com>; Jake Nachmani
<jnachmani@seidenlegal.com>
                                                                                   9
    Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 107 of 121 Page ID
                                        #:1832
Cc: Lei Lei Wang Ekvall <lekvall@swelawfirm.com>; Robert Marticello <rmarticello@swelawfirm.com>
Subject: RE: Liu v. Jia - INADMISSIBLE AND CONFIDENTIAL SETTLEMENT COMMUNICATION

The proposed order is fine with us. Thank you for drafting this.

Amiad

Amiad Kushner
Partner, Head of Litigation
Seiden Law Group LLP
469 Seventh Avenue, 5th Fl.
New York, NY 10018
Office: (646) 766-1914
Mobile: (646) 275-2485
www.seidenlegal.com

From: Michael Simon <msimon@swelawfirm.com>
Sent: Monday, September 14, 2020 2:09 PM
To: Benjamin Taylor <btaylor@taylorlawfirmpc.com>; Amiad Kushner <akushner@seidenlegal.com>; Jake Nachmani
<jnachmani@seidenlegal.com>
Cc: Lei Lei Wang Ekvall <lekvall@swelawfirm.com>; Robert Marticello <rmarticello@swelawfirm.com>
Subject: RE: Liu v. Jia - INADMISSIBLE AND CONFIDENTIAL SETTLEMENT COMMUNICATION

Gentlemen,

We previously lodged the stipulation re protective order (in addition to filing it) for the Judge’s signature; however, on
Friday, someone at the court, presumably the courtroom deputy, rejected it because they viewed it as a stipulation
rather than an order that the Judge could sign. In order to fix this, we intend to lodge the attached proposed order
approving the stipulation.

Best,

Michael




Michael Simon
Attorney
Smiley Wang-Ekvall, LLP
3200 Park Center Drive, Suite 250
Costa Mesa, CA 92626
Telephone: 714.445.1000
Facsimile: 714.445.1002
Email: msimon@swelawfirm.com
Website      V-Card

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                                                                 10
     Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 108 of 121 Page ID
                                         #:1833
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the purpose of avoiding penalties under the Internal Revenue Code, or for the purpose of promoting, marketing or recommending to
anyone any transaction or matter addressed herein.



From: Robert Marticello
Sent: Wednesday, September 9, 2020 2:32 PM
To: Benjamin Taylor <btaylor@taylorlawfirmpc.com>; Amiad Kushner <akushner@seidenlegal.com>; Jake Nachmani
<jnachmani@seidenlegal.com>
Cc: Lei Lei Wang Ekvall <lekvall@swelawfirm.com>; Michael Simon <msimon@swelawfirm.com>
Subject: RE: Liu v. Jia - INADMISSIBLE AND CONFIDENTIAL SETTLEMENT COMMUNICATION

I was wondering the same thing. Let us take a look at it. We will let you know if we need a new signature.




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(including any attachments) cannot be used or relied upon for the purpose of avoiding penalties under the Internal Revenue Code, or for the purpose of promoting,
marketing or recommending to anyone any transaction or matter addressed herein.


From: Benjamin Taylor [mailto:btaylor@taylorlawfirmpc.com]
Sent: Wednesday, September 9, 2020 2:30 PM
To: Amiad Kushner <akushner@seidenlegal.com>; Robert Marticello <rmarticello@swelawfirm.com>; Jake Nachmani
<jnachmani@seidenlegal.com>
Cc: Lei Lei Wang Ekvall <lekvall@swelawfirm.com>; Michael Simon <msimon@swelawfirm.com>
Subject: RE: Liu v. Jia - INADMISSIBLE AND CONFIDENTIAL SETTLEMENT COMMUNICATION

Bobby,

See attached. I believe the clerk will require a separate proposed order, but you can submit this and see if they’ll accept
it with the order in the stipulation.


Benjamin Taylor
The Taylor Law Firm
1880 Century Park East, Suite 714
                                                                                   11
    Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 109 of 121 Page ID
                                        #:1834
Los Angeles, CA 90067
Telephone: (310) 201-7600
Fax: (310) 201-7601
btaylor@taylorlawfirmpc.com
www.taylorlawfirmpc.com




From: Amiad Kushner <akushner@seidenlegal.com>
Sent: Wednesday, September 9, 2020 1:03 PM
To: Robert Marticello <rmarticello@swelawfirm.com>; Jake Nachmani <jnachmani@seidenlegal.com>; Benjamin Taylor
<btaylor@taylorlawfirmpc.com>
Cc: Lei Lei Wang Ekvall <lekvall@swelawfirm.com>; Michael Simon <msimon@swelawfirm.com>
Subject: FW: Liu v. Jia - INADMISSIBLE AND CONFIDENTIAL SETTLEMENT COMMUNICATION

Bobby,

Thanks, this is fine with us -- copying Ben to assist with signing/filing.

In the interest of getting this moving, can you please send us the settlement information you are
prepared to provide? We will treat the stipulation as binding even if not yet approved by the Court.

Regards,

Amiad

Amiad Kushner
Partner, Head of Litigation
Seiden Law Group LLP
469 Seventh Avenue, 5th Fl.
New York, NY 10018
Office: (646) 766-1914
Mobile: (646) 275-2485
www.seidenlegal.com

From: Robert Marticello <rmarticello@swelawfirm.com>
Sent: Wednesday, September 9, 2020 3:25 PM
To: Amiad Kushner <akushner@seidenlegal.com>
Cc: Jake Nachmani <jnachmani@seidenlegal.com>; Michael Simon <msimon@swelawfirm.com>; Lei Lei Wang Ekvall
<lekvall@swelawfirm.com>
Subject: RE: Liu v. Jia - INADMISSIBLE AND CONFIDENTIAL SETTLEMENT COMMUNICATION

Amiad,

Attached is the clean SPO for signature. I accepted the changes to the prior version I sent to you and I did not make any
other changes.




                                                            12
     Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 110 of 121 Page ID
                                         #:1835




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(including any attachments) cannot be used or relied upon for the purpose of avoiding penalties under the Internal Revenue Code, or for the purpose of promoting,
marketing or recommending to anyone any transaction or matter addressed herein.


From: Robert Marticello
Sent: Thursday, September 3, 2020 7:42 PM
To: Amiad Kushner <akushner@seidenlegal.com>
Cc: Jake Nachmani <jnachmani@seidenlegal.com>
Subject: RE: Liu v. Jia - INADMISSIBLE AND CONFIDENTIAL SETTLEMENT COMMUNICATION

Hey Amiad,

My client signed off on the revised version. I will have it put in final for execution and we will get it filed.




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information. If any reader of this communication is not the intended recipient, then any use, disclosure or copying is strictly prohibited and may be unlawful. If you
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(including any attachments) cannot be used or relied upon for the purpose of avoiding penalties under the Internal Revenue Code, or for the purpose of promoting,
marketing or recommending to anyone any transaction or matter addressed herein.


From: Amiad Kushner [mailto:akushner@seidenlegal.com]
Sent: Wednesday, September 2, 2020 3:20 PM
To: Robert Marticello <rmarticello@swelawfirm.com>
                                                                                   13
     Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 111 of 121 Page ID
                                         #:1836
Cc: Jake Nachmani <jnachmani@seidenlegal.com>
Subject: RE: Liu v. Jia - INADMISSIBLE AND CONFIDENTIAL SETTLEMENT COMMUNICATION

Bobby,

Yes, this accurately reflects our discussion. Thanks, Amiad

Amiad Kushner
Partner, Head of Litigation
Seiden Law Group LLP
469 Seventh Avenue, 5th Fl.
New York, NY 10018
Office: (646) 766-1914
Mobile: (646) 275-2485
www.seidenlegal.com

From: Robert Marticello <rmarticello@swelawfirm.com>
Sent: Wednesday, September 2, 2020 3:46 PM
To: Amiad Kushner <akushner@seidenlegal.com>
Cc: Jake Nachmani <jnachmani@seidenlegal.com>
Subject: RE: Liu v. Jia - INADMISSIBLE AND CONFIDENTIAL SETTLEMENT COMMUNICATION

Amiad, attached is a redline of the SPO. I have not yet discussed this with my client. I first wanted to confirm with you
that this accurately reflects our discussion yesterday. Let me know if this works with you and I will send to my client for
approval. Thanks.




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have received this communication in error, then please immediately notify the sender by return email, and delete this communication and all copies from your
system. Thank you.

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(including any attachments) cannot be used or relied upon for the purpose of avoiding penalties under the Internal Revenue Code, or for the purpose of promoting,
marketing or recommending to anyone any transaction or matter addressed herein.


From: Amiad Kushner [mailto:akushner@seidenlegal.com]
Sent: Tuesday, September 1, 2020 10:49 AM
To: Robert Marticello <rmarticello@swelawfirm.com>
Cc: Jake Nachmani <jnachmani@seidenlegal.com>
Subject: RE: Liu v. Jia - INADMISSIBLE AND CONFIDENTIAL SETTLEMENT COMMUNICATION

Sure, no problem

                                                                                   14
     Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 112 of 121 Page ID
                                         #:1837
Amiad Kushner
Partner, Head of Litigation
Seiden Law Group LLP
469 Seventh Avenue, 5th Fl.
New York, NY 10018
Office: (646) 766-1914
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From: Robert Marticello <rmarticello@swelawfirm.com>
Sent: Tuesday, September 1, 2020 1:48 PM
To: Amiad Kushner <akushner@seidenlegal.com>
Subject: RE: Liu v. Jia - INADMISSIBLE AND CONFIDENTIAL SETTLEMENT COMMUNICATION

Can we push our call to 11:15 a.m.? I have a sale closing I am trying to finish up and we have a 11:00 a.m. wire deadline.




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marketing or recommending to anyone any transaction or matter addressed herein.


From: Amiad Kushner [mailto:akushner@seidenlegal.com]
Sent: Saturday, August 29, 2020 8:36 AM
To: Robert Marticello <rmarticello@swelawfirm.com>
Cc: Daniel.Anziska@troutman.com; Paul.Gale@troutman.com; Lei Lei Wang Ekvall <lekvall@swelawfirm.com>; Jake
Nachmani <jnachmani@seidenlegal.com>; Robert Seiden <rseiden@seidenlegal.com>; Andrew Sklar
<asklar@seidenlegal.com>; Michael Simon <msimon@swelawfirm.com>
Subject: RE: Liu v. Jia - INADMISSIBLE AND CONFIDENTIAL SETTLEMENT COMMUNICATION

Bobby,

How about Monday or Tuesday at 9:30 am to 1:30 pm your time on either day? Thanks, Amiad

Amiad Kushner
Partner, Head of Litigation
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469 Seventh Avenue, 5th Fl.
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                                                                                   15
     Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 113 of 121 Page ID
                                         #:1838
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From: Robert Marticello <rmarticello@swelawfirm.com>
Sent: Friday, August 28, 2020 7:02 PM
To: Amiad Kushner <akushner@seidenlegal.com>
Cc: Daniel.Anziska@troutman.com; Paul.Gale@troutman.com; Lei Lei Wang Ekvall <lekvall@swelawfirm.com>; Jake
Nachmani <jnachmani@seidenlegal.com>; Robert Seiden <rseiden@seidenlegal.com>; Andrew Sklar
<asklar@seidenlegal.com>; Michael Simon <msimon@swelawfirm.com>
Subject: RE: Liu v. Jia - INADMISSIBLE AND CONFIDENTIAL SETTLEMENT COMMUNICATION

No, it doesn’t. If you want to set up a call next week to discuss, give me a few dates and times that work for you.




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marketing or recommending to anyone any transaction or matter addressed herein.


From: Amiad Kushner [mailto:akushner@seidenlegal.com]
Sent: Friday, August 28, 2020 3:56 PM
To: Robert Marticello <rmarticello@swelawfirm.com>
Cc: Daniel.Anziska@troutman.com; Paul.Gale@troutman.com; Lei Lei Wang Ekvall <lekvall@swelawfirm.com>; Jake
Nachmani <jnachmani@seidenlegal.com>; Robert Seiden <rseiden@seidenlegal.com>; Andrew Sklar
<asklar@seidenlegal.com>; Michael Simon <msimon@swelawfirm.com>
Subject: RE: Liu v. Jia - INADMISSIBLE AND CONFIDENTIAL SETTLEMENT COMMUNICATION

Bobby,

We do not follow your email below; let me attempt to clarify how we view this.

This stipulation is limited to the exchange of settlement materials. It does not govern discovery in
the litigation, or what documents may be disclosed in the litigation or filed in the litigation. To
the extent there is any issue regarding what my client can or cannot disclose in the litigation, we
should deal with that with a standard litigation protective order (which we are happy to discuss).

That said, are we debating anything real or is this purely hypothetical? This stipulation is intended
to facilitate the exchange of information regarding the value of Faraday’s equity, solely for
settlement purposes. We are talking about new information that my client does not have. If you are
providing new documents, there would be no risk of my client asserting that such documents are not
                                                                                   16
     Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 114 of 121 Page ID
                                         #:1839
confidential because he already had them. On the flip side, if you give us documents that we already
have, it would make no sense to label them as “confidential” settlement materials.

Does this explanation obviate your objection to our last markup? Perhaps we can get past this by
talking on the phone.

Amiad Kushner
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From: Robert Marticello <rmarticello@swelawfirm.com>
Sent: Thursday, August 27, 2020 10:57 PM
To: Amiad Kushner <akushner@seidenlegal.com>
Cc: Daniel.Anziska@troutman.com; Paul.Gale@troutman.com; Lei Lei Wang Ekvall <lekvall@swelawfirm.com>; Jake
Nachmani <jnachmani@seidenlegal.com>; Robert Seiden <rseiden@seidenlegal.com>; Andrew Sklar
<asklar@seidenlegal.com>; Michael Simon <msimon@swelawfirm.com>
Subject: RE: Liu v. Jia - INADMISSIBLE AND CONFIDENTIAL SETTLEMENT COMMUNICATION

Amiad,

This is not a typical protective order. Your client was an employee and may have received information in that
capacity. He should not be allowed to disclose confidential information because he previously may have learned of the
information solely by virtue of his status as an employee. Moreover, the information to be provided is not information
your client is entitled to via discovery. Rather, we are providing this information with no obligation because your client
requested info to evaluate the settlement offer.




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marketing or recommending to anyone any transaction or matter addressed herein.


From: Amiad Kushner [mailto:akushner@seidenlegal.com]
Sent: Thursday, August 27, 2020 1:31 PM
To: Robert Marticello <rmarticello@swelawfirm.com>
                                                                                   17
    Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 115 of 121 Page ID
                                        #:1840
Cc: Daniel.Anziska@troutman.com; Paul.Gale@troutman.com; Lei Lei Wang Ekvall <lekvall@swelawfirm.com>; Jake
Nachmani <jnachmani@seidenlegal.com>; Robert Seiden <rseiden@seidenlegal.com>; Andrew Sklar
<asklar@seidenlegal.com>; Michael Simon <msimon@swelawfirm.com>
Subject: RE: Liu v. Jia - INADMISSIBLE AND CONFIDENTIAL SETTLEMENT COMMUNICATION

Bobby,

We accepted all of your edits – with the exception of several words deleted in paragraph 3 (see attached redline, re-
inserting that language). This is fairly standard language which would prevent you from claiming as “confidential”
documents that Mr. Liu already has (I note this exact language appears in paragraph 3 of the model protective order
used by ND Cal: https://www.cand.uscourts.gov/wp-content/uploads/forms/model-protective-
orders/CAND_StandardProtOrd.pdf).

Please let me know if our markup is acceptable.

Regards,

Amiad

Amiad Kushner
Partner, Head of Litigation
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From: Robert Marticello <rmarticello@swelawfirm.com>
Sent: Tuesday, August 25, 2020 4:22 PM
To: Amiad Kushner <akushner@seidenlegal.com>
Cc: Daniel.Anziska@troutman.com; Paul.Gale@troutman.com; Lei Lei Wang Ekvall <lekvall@swelawfirm.com>; Jake
Nachmani <jnachmani@seidenlegal.com>; Robert Seiden <rseiden@seidenlegal.com>; Andrew Sklar
<asklar@seidenlegal.com>; Michael Simon <msimon@swelawfirm.com>
Subject: RE: Liu v. Jia - INADMISSIBLE AND CONFIDENTIAL SETTLEMENT COMMUNICATION

Amiad,

Attached is a redline accepting your changes and making a few additional edits. We accepted the majority of your
changes. Let me know if the attached works. Thanks.




                                                           18
     Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 116 of 121 Page ID
                                         #:1841
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marketing or recommending to anyone any transaction or matter addressed herein.


From: Amiad Kushner [mailto:akushner@seidenlegal.com]
Sent: Saturday, August 22, 2020 6:56 PM
To: Robert Marticello <rmarticello@swelawfirm.com>
Cc: Daniel.Anziska@troutman.com; Paul.Gale@troutman.com; Lei Lei Wang Ekvall <lekvall@swelawfirm.com>; Jake
Nachmani <jnachmani@seidenlegal.com>; Robert Seiden <rseiden@seidenlegal.com>; Andrew Sklar
<asklar@seidenlegal.com>
Subject: RE: Liu v. Jia - INADMISSIBLE AND CONFIDENTIAL SETTLEMENT COMMUNICATION

Bobby,

Please find attached our comments on the draft protective order and proposed order (these are subject
to client review). Our main comment is to make this “mutual,” so that it covers information that we
may provide to you for settlement purposes.

Regards,

Amiad

Amiad Kushner
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From: Robert Marticello <rmarticello@swelawfirm.com>
Sent: Tuesday, August 18, 2020 7:46 PM
To: Amiad Kushner <akushner@seidenlegal.com>
Cc: Daniel.Anziska@troutman.com; Paul.Gale@troutman.com; Lei Lei Wang Ekvall <lekvall@swelawfirm.com>; Jake
Nachmani <jnachmani@seidenlegal.com>
Subject: RE: Liu v. Jia - INADMISSIBLE AND CONFIDENTIAL SETTLEMENT COMMUNICATION

Amiad,

The request for information is extremely broad. It is also difficult to understand why your client needs to assess the
value of the options when he wants more options. When paired with the requests for production, it appears that Mr.
Liu is merely attempting to meddle in Faraday’s affairs as a litigation strategy. Nevertheless, in an effort to move the
parties towards a settlement, we are prepared to provide some information. However, it must be on a strictly
confidential basis as you suggest below. To this end, attached is a proposed stipulated protective order. Please let us
know if this is acceptable.




                                                                                   19
     Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 117 of 121 Page ID
                                         #:1842




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marketing or recommending to anyone any transaction or matter addressed herein.


From: Amiad Kushner [mailto:akushner@seidenlegal.com]
Sent: Wednesday, August 5, 2020 10:08 AM
To: Robert Marticello <rmarticello@swelawfirm.com>
Cc: Daniel.Anziska@troutman.com; Paul.Gale@troutman.com; Lei Lei Wang Ekvall <lekvall@swelawfirm.com>; Jake
Nachmani <jnachmani@seidenlegal.com>
Subject: Re: Liu v. Jia - INADMISSIBLE AND CONFIDENTIAL SETTLEMENT COMMUNICATION

FOR SETTLEMENT PURPOSES ONLY

Bobby,

I write further to our settlement correspondence. As I indicated, our client believes that the terms of the offer
you communicated are inadequate. For example, the offer includes very minimal percentages of what Mr. Liu
is entitled to under his employment agreement alone (500k cash versus $6.4 million in guaranteed salary and
bonus required under the agreement, excluding interest; 3 million options versus Mr. Liu's entitlement of 20
million options).

However, in order to move the process forward, we intend to make a counter-offer. Given that Faraday and
its affiliates are privately owned entities in which we have very limited visibility, is difficult for us to assess the
value of the 3 million Faraday options you have offered (and, by extension, what would be a fair and
reasonable counter offer for our client). As you can appreciate, the value of Faraday equity (and the likelihood
of any IPO) are important drivers of any settlement.

Under the circumstances, as the next step in the settlement process, we would request that you share with us
(and/or our advisors) additional information on a strictly confidential basis, which would help us to gain insight
into the value of Faraday equity. Below is a list of information that would be helpful to us.

We are happy to have a call to discuss further.

Regards,

                                                                                   20
    Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 118 of 121 Page ID
                                        #:1843

Amiad


    1. Annual financials (audited, if possible) going back 5 years (or as far back as possible)
    2. Any management generated business plans created in last 3 years
    3. Any information regarding the potential plans to go public
    4. List of largest investors that make of 90% of ownership
    5. Any information about production sites
    6. Any information to verify production capacity
    7. Any examples of executed sales contracts or letters of intent
    8. Any information about existing debt on the company (including loan agreements)
    9. Any information about any liens against any assets of the company
    10. Any examples of secondary sales of company stock
    11. Any recent valuation of Faraday and/or its affiliates



Amiad Kushner

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From: Amiad Kushner <akushner@seidenlegal.com>
Sent: Thursday, July 30, 2020 10:37 AM
To: Robert Marticello <rmarticello@swelawfirm.com>
Cc: Daniel.Anziska@troutman.com <Daniel.Anziska@troutman.com>; Paul.Gale@troutman.com
<Paul.Gale@troutman.com>; Lei Lei Wang Ekvall <lekvall@swelawfirm.com>; Jake Nachmani
<jnachmani@seidenlegal.com>
Subject: Re: Liu v. Jia - INADMISSIBLE AND CONFIDENTIAL SETTLEMENT COMMUNICATION

I can't give a definite date, but if we decide to make a counter we will likely do it in the next week or so.


Amiad Kushner

Partner, Head of Litigation


                                                         21
     Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 119 of 121 Page ID
                                         #:1844
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From: Robert Marticello <rmarticello@swelawfirm.com>
Sent: Wednesday, July 29, 2020 10:39 PM
To: Amiad Kushner <akushner@seidenlegal.com>
Cc: Daniel.Anziska@troutman.com <Daniel.Anziska@troutman.com>; Paul.Gale@troutman.com
<Paul.Gale@troutman.com>; Lei Lei Wang Ekvall <lekvall@swelawfirm.com>; Jake Nachmani
<jnachmani@seidenlegal.com>
Subject: RE: Liu v. Jia - INADMISSIBLE AND CONFIDENTIAL SETTLEMENT COMMUNICATION

Amiad,

I appreciate the update. Do you have a time estimate on when we can potentially expect a counter?




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From: Amiad Kushner [mailto:akushner@seidenlegal.com]
Sent: Wednesday, July 29, 2020 5:17 PM
To: Robert Marticello <rmarticello@swelawfirm.com>
Cc: Daniel.Anziska@troutman.com; Paul.Gale@troutman.com; Lei Lei Wang Ekvall <lekvall@swelawfirm.com>; Jake
Nachmani <jnachmani@seidenlegal.com>
Subject: Re: Liu v. Jia - INADMISSIBLE AND CONFIDENTIAL SETTLEMENT COMMUNICATION


                                                                                   22
    Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 120 of 121 Page ID
                                        #:1845




Bobby,

Thank you for communicating this settlement proposal, which we have discussed with our client. While our
client believes the proposed terms are inadequate, we are considering whether to make a counter-offer. We
will be in touch once we have had an adequate opportunity to do further diligence on our end.

Regards,

Amiad



Amiad Kushner

Partner, Head of Litigation

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From: Robert Marticello <rmarticello@swelawfirm.com>
Sent: Monday, July 27, 2020 8:29 PM
To: Amiad Kushner <akushner@seidenlegal.com>
Cc: Daniel.Anziska@troutman.com <Daniel.Anziska@troutman.com>; Paul.Gale@troutman.com
<Paul.Gale@troutman.com>; Lei Lei Wang Ekvall <lekvall@swelawfirm.com>
Subject: Liu v. Jia - INADMISSIBLE AND CONFIDENTIAL SETTLEMENT COMMUNICATION

Hello Amiad,

Please see attached.




                                                    23
     Case 2:20-cv-08035-SVW-JPR Document 112-2 Filed 04/07/21 Page 121 of 121 Page ID
                                         #:1846




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                                                                                   24
